          Case 1:20-cv-10444-DJC Document 287 Filed 06/23/22 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                   )
NEURALMAGIC, INC.                                  )
                                                   )
                        Plaintiff,
                                                   )   Civil Action No. 20-CV-10444
v.                                                 )
                                                   )
META PLATFORMS, INC. AND                           )
ALEKSANDAR ZLATESKI                                )
                                                   )
                        Defendants.                )
                                                   )
                                                   )


                            NEURAL MAGIC’S
          MOTION TO STRIKE EXPERT TESTIMONY OF DR. DAVID KAELI

        Pursuant to Rule 37(c)(1) of the Federal Rules of Civil Procedure and Local Rule 37.1,

Plaintiff NeuralMagic, Inc. (“Neural Magic”) moves to strike portions of the expert report and

related testimony submitted by David Kaeli on behalf of Aleksandar Zlateski and Meta Platforms,

Inc. As outlined in the accompanying memorandum in support of this motion , those portions of

Dr. Kaeli’s expert report and related testimony that Neural Magic seeks to strike pe rtain to

untimely contentions Defendants failed to disclose in response to Neural Magic’s interrogatories,

raised for the first time in Dr. Kaeli’s report.

        In support of this motion to strike, Neural Magic submits the accompanying memorandum

and exhibits attached thereto, as well as any further briefing and argument that may be permitted

by the Court. Neural Magic’s accompanying memorandum and exhibits will be filed under seal,

with the Court’s leave, which Neural Magic is seeking concurrent with the filing of this motion.
          Case 1:20-cv-10444-DJC Document 287 Filed 06/23/22 Page 2 of 4




                              REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Neural Magic respectfully requests that the Court hold oral

argument on this motion, as Neural Magic believes that oral argument may assist the Court in its

resolution of these issues.

                              LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2), the undersigned hereby certify that counsel has conferred

and attempted in good faith to resolve or narrow the issues raised in this motion. Specifically,

counsel for Neural Magic conferred extensively with Defendants on the subject matter of this

motion, including over a June 7 teleconference and in subsequent email correspondence.

Defendants oppose the relief requested in this motion.
        Case 1:20-cv-10444-DJC Document 287 Filed 06/23/22 Page 3 of 4




                                       Respectfully submitted,

Dated: June 23, 2022                   /s/ Patrick D. Curran
                                      Steven Cherny (BBO# 706132) (pro hac vice)
                                      Patrick D. Curran (BBO# 568701)
                                      Stacylyn M. Doore (BBO# 678449)
                                      Ryan P. Gorman (BBO# 707239) (pro hac vice)
                                      QUINN EMANUEL URQUHART &
                                      SULLIVAN, LLP
                                      111 Huntington Avenue, Suite 520
                                      Boston, MA 02199
                                      Tel: (617) 712-7100
                                      stevencherny@quinnemanuel.com
                                      patrickcurran@quinnemanuel.com
                                      stacylyndoore@quinnemanuel.com
                                      ryangorman@quinnemanuel.com

                                      Jared W. Newton (pro hac vice)
                                      QUINN EMANUEL URQUHART &
                                      SULLIVAN, LLP
                                      1300 I Street, NW, Suite 900
                                      Washington, D.C. 20005
                                      Tel: (202) 538-8000
                                      jarednewton@quinnemanuel.com

                                      Gyushik (Kevin) Jang (pro hac vice)
                                      QUINN EMANUEL URQUHART &
                                      SULLIVAN, LLP
                                      50 California Street, 22nd Floor
                                      San Francisco, CA 94111
                                      Tel: (212) 849-7035
                                      kevinjang@quinnemanuel.com
          Case 1:20-cv-10444-DJC Document 287 Filed 06/23/22 Page 4 of 4




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF) and electronic

copies will be sent to those indicated as non-registered participants on this the 23 rd day of June,

2022.


                                                             /s/ Stacylyn M. Doore
                                                             Stacylyn M. Doore




                                                 4
